                                                              , - - - - - ----·- - -,-•- - · - - - +
     Case 3:18-cv-02845-LAB-JLB Document 32 Filed 10/25/19 PageID.215 Page 1 of 3
                                                                        FILED
 1   Anton Ewing                                                         OCT 2 5 2019
     3077 B Clairemont Drive #372
 2   San Diego, CA 9211 7                                         CLERK US OISTFllC! COURT
                                                               SOUTHERN Dl;;3.JRIC1 OF CALIFORNI
 3
     (619) 719-9640                                            SY          ~              DEPUT
     anton@antonewing.com
 4

 5   Plaintiff in Pro Per
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 9
                 THE UNITED STATES FEDERAL DISTRICT COURT

10                      SOUTHERN DISTRICT OF CALIFORNIA
11

12
     Anton Ewing, an individual,                    Civil Case No. 18-CV-2845-LAB-JLB
13
                Plaintiff,                          PLAINTIFF'S RESPONSE TO
14
                                                    ORDER TO SHOW CAUSE
15         vs.
16
     LeadExcel, Inc, a Pennsylvania                 NOTICE OF DISMISSAL OF
                                                    DEFENDANTS JOHN RAYMOND
17   corporation;                                   BUCHMILLER AND ATTORNEYS
                                                    TAX RELIEF
18
     Ron Taylor, an individual and officer of
19   LeadExcel, Inc, aka Ronnell Taylor or
20
     Ron Taylor, Jr.;

21

22                    Defendants.
23

24                                              )
25
           May it please the Court, Plaintiff Anton Ewing (herein "Plaintiff' or

     "Ewing"), hereby responds to the Honorable Chief Judge Burns OSC filed as ECF

     No. 31.


                        PLAINTIFF'S RESPONSE TO ORDER TO SHOW CAUSE - 1
                                                                                                       18CV2845
     Case 3:18-cv-02845-LAB-JLB Document 32 Filed 10/25/19 PageID.216 Page 2 of 3



            Defendant's John Raymond Buchmiller and Attorneys Tax Relief, LLC are
 2
     hereby dismissed with prejudice pursuant to a written settlement agreement that is
 3

 4   now completed. Buchmiller and Attorneys Tax Relief have not filed an Answer or
 5
     MSJ and therefore the dismissal is pursuant to this notice under FRCP
 6

 7
     41 (a)( 1)(A)(i).

 8          The Proof of Service signed by Process Server Julie Schneck on LeadExcel,
 9
     Inc on 1/23/2019 is being corrected and will be filed forthwith. See ECF No. 12.
10

11   Plaintiff has received a response from the process server that she is going to fix the
12
     mistake and provide an update. If this is not received within 5 days, Plaintiff will
13

14
     have LeadExcel served again, but by ABC Legal.

15          The Court has ordered that Answer at ECF No. 20 on 3/15/2019 shall be the
16
     Answer for Defendant Taylor only. LeadExcel has therefore not Answered.
17

1s   Dated: October 25, 2019
19
                                                                             ing, Plaintiff
20                                                                      n attorney
21

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                         PLAINTIFF ' S RESPONSE TO ORDER TO SHOW CAUSE - 2
                                                                                              18CV2845
     Case 3:18-cv-02845-LAB-JLB Document 32 Filed 10/25/19 PageID.217 Page 3 of 3




 2                                    Proof of Service
 3
     I, Anton Ewing, am over the age of 18 and a pro se party to this case. I served the
 4   attached Notice of Dismissal and Response to OSC on Defendant as follows:
 5
     My US Mail, postage pre-paid, first class to:
 6

 7
     Ronnell Taylor
     1001 Lauren Court
 8   Jeannette, PA 15644
 9
     LeadExcel, Inc
IO
     1001 Lauren Court
11   Jeannette, PA 15644
12

13   The above statement if true and correct under penalty of perjury under the laws of
14
     the United States.

I5   Dated: October 25, 2019
16

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                       PLAINTIFF' S RESPONSE TO ORDER TO SHOW CAUSE - 3
                                                                                           18CV2845
